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                   IN THE UNITED STATES DISTRICT COURT FOR
                          NORTHERN DISTRICT OF FLORIDA
                                   (Gainesville Division)


UNITED STATES OF AMERICA )
                          )
          v.              )                               Docket No. 1:07CR11-005 MMP
                          )
     SARAH SUMNER         )


                                    ORDER

       This matter is before the Court on a petition alleging that the defendant violated the

conditions of her pretrial release as outlined in Pretrial Form PS8 filed with the Clerk of the

U. S. District Court for the Northern District of Florida, on February 14, 2008.

       Based on the defendant’s admission of guilt to the violations as outlined in the

Pretrial Form PS8, the Court finds that the defendant violated the terms and conditions of

her pretrial release.

       IT IS HEREBY ORDERED that the defendant be continued on pretrial release under

the same terms and conditions previously imposed.

       DONE AND ORDERED this            20th day of February, 2008.



                                     s/Maurice M. Paul
                                    MAURICE M. PAUL, SENIOR
                                    UNITED STATES DISTRICT JUDGE


                                    February 22, 2008
                                    DATE
